Case 1:05-cv-00822-JDT-TAB Document 17 Filed 11/14/05 Page 1 of 2 PageID #: 110



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


MERRY CLARK, on behalf of and as next       )
friend of A.C., Minor, and S.C., Minor,     )
                                            )
             Plaintiff,                     )
                                            )
      vs.                                   )            1:05-cv-0822-JDT-TAB
                                            )
STATE FARM MUTUAL AUTOMOBILE                )
INSURANCE COMPANY,                          )
                                            )
             Defendant.                     )


                                     JUDGMENT

      The court, having found that Defendant’s motion for summary judgment should

be granted and Plaintiff’s motion for summary judgment denied, now therefore orders,

adjudges and decrees that judgment is entered in favor of Defendant State Farm Mutual

Automobile Insurance Company and against Plaintiff, Merry Clark, on behalf of and as

next friend of A.C., Minor, and S.C., Minor. Costs shall be allowed the Defendant.


      ALL OF WHICH IS ORDERED this 14th day of November 2005.



Laura A. Briggs, Clerk                          John Daniel Tinder,     Judge
                                          _______________________________
United States District Court                       United States District Court
                                                John Daniel Tinder, Judge
                                                United States District Court


By Evelyn A. Hollins, Deputy Clerk



Copies to:
Case 1:05-cv-00822-JDT-TAB Document 17 Filed 11/14/05 Page 2 of 2 PageID #: 111



Matthew C. Boulton
Keller & Keller
matt@2keller.com

John B. Drummy
Kightlinger & Gray
jdrummy@k-glaw.com

Mark D. Gerth
Kightlinger & Gray
mgerth@k-glaw.com

Randall L. Juergensen
Keller & Keller
randy@2keller.com

Magistrate Judge Tim A. Baker




                                      2
